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  10   (Additional Counsel listed on next page)

  11                        UNITED STATES DISTRICT COURT
  12
                          CENTRAL DISTRICT OF CALIFORNIA
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       YASSIR FAZAGA, et al.,                    CASE NO.: SA CV 11-00301 CJC
  16                                             (VBKx)
                          Plaintiffs,
  17
  18         v.                                  PLAINTIFFS' MOTION FOR
                                                 ISSUANCE OF PARTIAL FINAL
  19   FEDERAL BUREAU OF
                                                 JUDGMENT PURSUANT TO F.R.C.P.
       INVESTIGATION et al.,
  20                                             54(b)
  21                      Defendants.
                                                 Hearing Date: December 10, 2012
  22                                             Time: 1:30 p.m.
                                                 Courtroom: 9-D
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   1         NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY
   2   JUDGMENT UNDER FEDERAL RULE OF CIVIL PROCEDURE 54(b)
   3         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD
   4         PLEASE TAKE NOTICE that on December 10, at 1:30 PM, or as soon
   5   thereafter as the matter may be heard, in the courtroom of the Honorable Cormac J.
   6   Carney, located at 411 West Fourth Street, Room 1053, Santa Ana, CA 92701,
   7   Plaintiffs will, and hereby do, move the Court, pursuant to Federal Rule of Civil
   8   Procedure 54(b) for an order entering partial final judgment on each and every
   9   dismissed cause of action in Plaintiffs’ First Amended Complaint against the
  10   Government and Individual Defendants.1
  11         Partial final judgment is appropriate with respect to the Government
  12   Defendants because:
  13         (1) This Court dismissed all claims against the Government Defendants on
  14            August 14, 2012. The Court dismissed the FISA claims on sovereign
  15            immunity grounds, and dismissed the remaining non-FISA claims on the
  16            basis of the state secrets privilege. Therefore, no claims remain pending
  17            against the Government Defendants in the instant litigation.
  18         (2) There is no just reason for delay of entry of partial final judgment with
  19            respect to the Government Defendants. Judicial economy and the
  20            interests of the parties are best served by immediate entry of partial final
  21            judgment so that Plaintiffs may appeal this Court’s order granting
  22            dismissal based on the state secrets privilege. No purpose is served by
  23            delaying that appeal until resolution of the Individual Defendants’ appeal
  24   1
         The “Government Defendants” are the United States of America, Federal Bureau
  25   of Investigation; Robert Mueller, Director of the Federal Bureau of Investigation,
  26   in his official capacity; and Steven M. Martinez, Assistant Director in Charge,
       Federal Bureau of Investigation’s Los Angeles Division, in his official capacity.
  27   The “Individual Defendants” are J. Stephen Tidwell, Barbara Walls, Pat Rose,
  28   Kevin Armstrong, and Paul Allen.



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   1            and subsequent trial on the qualified immunity defense.
   2   Partial final judgment is appropriate with respect to the dismissed claims against
   3   the Individual Defendants because:
   4         (1) This Court dismissed all non-FISA claims against the Individual
   5            Defendants on August 14, 2012. The FISA claim is the only remaining
   6            claim against these Defendants, as the Court denied qualified immunity
   7            to the Individual Defendants. Howewer, the individual defendants have
   8            appealed this denial of qualified immunity. Thus, there are no remaining
   9            claims for this Court’s consideration during the pendency of their appeal.
  10         (2) There is no just reason for delay of entry of final judgment with respect
  11            to the dismissed claims against the Individual Defendants because delay
  12            would prevent the appeals from being considered at the same time. The
  13            basis for dismissal of the non-FISA claims against Individual Defendants
  14            is identical to the basis for dismissal of the non-FISA claims against the
  15            Government Defendants – both were dismissed under the state secrets
  16            privilege. As a result, judicial economy is best served by combining the
  17            appeals.2
  18         This motion is based on the accompanying Memorandum of Law and all
  19   pleadings and papers on file with the Court in this action.
  20                        Statement of Local Rule 7-3 Compliance
  21         This motion is made following the conference of counsel pursuant to L.R. 7-
  22   3 which initially took place with the Government Defendants on August 31, 2012,
  23   the Individual Capacity Defendants on September 10 and October 17, 2012, and
  24   2
        Alternatively, Plaintiffs move for certification of this Court’s orders of August
  25   14, 2012 dismissing Plaintiffs’ claims against the Government and Individual
  26   Defendants for immediate appeal under 28 U.S.C. 1292(b) because they involve a
       controlling question of law, there are substantial grounds for difference of opinion,
  27   and certification would advance the ultimate termination of this litigation.
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   1   through e-mail correspondence thereafter. During conferral, counsel for the
   2   Individual Defendants stated they would take no position on this motion as long as
   3   it also sought partial final judgment as to the Individual Defendants, which it now
   4   does. Counsel for the Government Defendants informed Plaintiffs via e-mail on
   5   October 31, 2012 that they intend to oppose this motion because they “don’t
   6   believe the requirements of Rule 54(b) are satisfied.”
   7                                          Respectfully submitted,
   8
       Dated: Dated: November 1, 2012         ACLU FOUNDATION OF SOUTHERN
   9
                                               CALIFORNIA
  10                                          COUNCIL ON AMERICAN-ISLAMIC
                                               RELATIONS, CALIFORNIA
  11
                                              HADSELL STORMER KEENY
  12                                           RICHARDSON & RENICK, LLP
                                              By: s/ Peter Bibring
  13                                                 Peter Bibring
  14                                                Attorneys for Plaintiffs
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